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]_N THE UNITED STATES DISTRICT COUR'I`
FOR 'I`I-lE DISTRICT OF MARYLAND

TAWANDA JoNEs, et al.
Plainriffs,

v. CIVlL ACTION NO.: 1:14-cv-002627

'Ii-*'l'***-f-

NICHOLAS DAVID CHAPMAN et al.

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Defendants.

EX_PERT OPINION OF CHARLES J. K_EY, SR.

l. QUALIFICATIONS

I retired from the Baltimore, Maryland Police Department as the Comrnanding Officer of
the Firearms Training Unit, a position which I held for ten years. I have evaluated uses of force
for over thirty years. I was a supervisor in the Baltimore Police Department for over twenty-one
years. ln that role I sat as a member of various tribunals in numerous Adrninistrative Hearings;
investigated dozens of uses of less than lethal force; assisted the Internal lnvestigation and
Homicide Divisions in evaluating/investigating hundreds of police involved shootings; and Wrote

the Departmental General Order governing the use of force.
At the direction of the Police Commissioner, I also analyzed approximately six hundred

police involved shootings to determine if the shootings were consistent with law, departmental

policies, and training. ln addition to issues of law and departmental policies, those analyses

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included crime scene reconstruction, interpreting ballistic evidence, shell casing ejection pattern
testing, and technical issues related to firearms. ln the ten years Iwas the Commanding Officer
of the Firearms Training Unit, I responded to the scene of more than one hundred police involved

shooting incidents.

During my career with the Baltimore Police Departmen'g l acquired substantial
experience and developed significant expertise in the area 0f law enforcement officer supervision
and training. As part of my duties, I developed and evaluated numerous operational guidelines
and officer training programs, both for the department and for other law enforcement agencies I
personally authored the draft of the regulations regarding firearms training for law enforcement
officers within the State of Maryland. Additionally, l developed and wrote, or assisted in writing,
hundreds of other operational protocols, supervisory memoranda, and training related documents,
including, but not limited to: the general order pertaining to the resolution of sniper, hostage,
barricade situations ; the general order pertaining to police officer use of force; the special
weapons and tactics team’s (SWAT) training program, operational protocols, physical training
program, and selection standards and protocol; the recruit and in-service officer training
programs for iirearms, officer survival, defensive skills, riot and crowd control, use of pepper
spray, and use of force; and numerous other training guidelines, policy directives, and officer

training lesson plans.

My involvement With police officer training took place on several different levels. While
assigned to the Tactical Section, I was responsible for the selection, training, and operational

performance of SWAT personnel. After being assigned as the Commanding Ofiicer of the

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Firearms Training Unit, I was personally responsible for the training of several thousand police
officers in subjects including, but not limited to: Fourth Amendment issues such as reasonable
suspicion to detain, probable cause to arrest, and when and how to use appropriate levels of
force; officer survival techniques; and firearms use. Ideveloped and conducted numerous
instructor-level courses in which police instructors were taught how to develop and implement
effective training programs I also assisted in selecting the shoot-no-shoot computer model for
the Baltimore Police Department and both participated in designing scenarios for shoot-no-shoot
situations and trained officers using those scenarios. In addition I developed live person training
scenarios, which incorporan various use of lethal force circumstances to train police officers
and civilians.

My experience and training as a supervisor with the Baltimore Police Departrnent
allowed me to develop broad expertise in law enforcement techniques as Well as in the
supervision and direction of individual police officers During the course of my career with the
Departrnent, I directly supervised and/or managed hundreds of individual police officers. In my
various supervisory capacities, including Quick Response Tearn (SWAT) Supervisor and
Primary lnstructor, District Shift Commander and District Operations Cornniander, l supervised
the resolution of thousands of emergency or crisis situations and investigated, or supervised the

investigation of, well over a thousand successfully prosecuted violent felonies.

As Central District Operations Commander, Iwas responsible for the supervision of
approximately fifty personnel. lncluded in that number were officers detailed to narcotics

enforcement activities Such activities involved street possession and distribution arrests as Well

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as a wiretap, which resulted in the service of approximately fifty search and seizure warrants for
drug related crimes. During the eight years I was the Operations Ccmmander, Iparticipated in
and/or supervised Well over one thousand arrests for the possession and/or distribution of
controlled dangerous substances and other felonies. All of these investigations involved
plainclothes officers and plainclothes operations As a result, Ibecame well versed in the legal
and departmental requirements pertaining to the searches and seizures and/or arrests of persons

involved in the distribution of illegal narcotics as well as other felonies.

As a result of this experience and training in law enforcement, I gained extensive personal
familiarity with the proper methods of police officer training as well as With the proper methods
of implementing policies and procedures to direct and guide individual officers in the effective

performance of their duties.

l am currently employed as an independent consultant and expert witness in police
misconduct litigation. ln this capacity, I have reviewed well over a thousand cases involving
alleged police misconduct, for both plaintiffs’ and defendants’ counsel. Included in that number
is approximately four hundred police involved shootings from various state, local, and federal
jurisdictions throughout this country and the Virgin Islands. In such cases Ihave evaluated
various factors in order to determine if the conduct of the law enforcement personnel and/or
agencies involved in the case violated legal, ethical and/or constitutional standards of conduct

Those factors include, but are not limited to: the conduct of individual law enforcement officers,

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the adequacy of the training and supervision received by such officers, and the adequacy and

appropriateness of police department policies and procedures
II. EXPERT COURT OUALIFICATIONS RELEVANT TO THIS CASE

Ihave previously been qualified as an expert witness as to police officer use of
force in eighty-eight (88) courts (seventy-one [71] state courts and seventeen [17] federal courts);
police training in ninety-seven (97) courts (seventy-eight ['78] state courts and nineteen [19]
federal courts); police policies and procedures in one hundred (100) courts (eighty [80] state
courts and twenty [20] federal courts); chemical agents and pepper spray in six (6) courts (five
[5] state courts and one [l] federal court; and have been held qualified as an expert in defensive
skills in thirty-three (33) courts (twenty-six [26] state courts and seven [7] federal courts). My
relevant training, experience, educational background, and history of court qualifications and
depositions are set forth in more detail in the Résumé/Curriculum Vitae attached to this Affidavit
as ‘Exhibit A.’

III. PUBLICATIONS
I have published one article in the last ten years It Was co-authored with Officer Dan
Rose, Baltimore County, Maryland SWAT. The article was published in The Tactz`cal Edge,

Winter 2010 Edition, and was entitled “Civil Court-Prepare Your SWAT Team for the

lnevitable.”

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IV. COMPENSATION
l am being compensated at the rate of $225.00/hour for consultation and review, and
$250.00/hour for appearing in court, deposition, and/or submitting an expert report/affidavit A
minimum payment of four hours is required for appearing in court, deposition, and/or submitting

an expert report/affidavit
V. METHODOLOGY IN EXPRESSION OF OPINIONS

All of the opinions provided in this report are expressed to a reasonable degree of
certainty in my fields of expertise. They are offered in each subject on which an opinion is
rendered and are presented in a general statement regarding whether the acts of the officers were
objectively reasonable and consistent with accepted standards of police policies, practices and
training. Supporting opinions are then provided with more particularity in the bases for the

generally held opinion.
VI. STANDARD OF ANALYSIS

My opinions in this case were developed by viewing the facts contained in the provided
materials from the perspective of an objectively reasonable officer confronted with the
circumstances as they existed at the time the incident occurred They are not conclusions as to

the credibility of any of the parties
VII. MATERIALS REVIEWED

In reaching my conclusions and opinions as to these issues, l have relied upon my

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extensive personal experience and training in the field of law enforcement, which Ihave
developed as a law enforcement officer, administrator, trainer, and as an expert witness and
consultant in police-related matters I have also reviewed various documents and materials in

forming my opinions in this specific case, including, but not limited to:

l. Amended Civil Complaint
2. Electronic File Entitled Homicide File
a. Criminal lnvestigation Division Final Report (PDF page 2)
b. Synopsis of Incident (PDF page 4)
c. Summary of Autopsy (PDF page 7)
d. Summary of Statement of Officer David Chapman (PDF page 8)
e. Summary of Statement of Officer Jorge Bernardez-Ruiz (PDF page 9)
f. Summary of Statement of Officer Derrick Beasley (PDF page 10)
g. Summary of Statement of Officer Latreese Lee (PDF page ll)
h. Summary of Statement of Officer Danielle lewis (PDF page 12)

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Summary of Statement of Officer Matthew Cioffi (PDF page 12)
Summary of Statement of Officer Eric Hinton (PDF page 12)
Summary of Statement Officer Alex Hashagen (PDF page 13)
Summary of Statement of Officer Taras Hnatyshyn (PDF page 14)
Summary of Statement of Officer Cory Jennings (PDF page 15)
Summary of Statement of Witness Corinthea Servance (PDF page 17)
Summary of Statement of Witness Chuma Obineme (PDF page 17)
Summary of Statement of Witness Duane Bonds (PDF page 18)
Summary of Statement of Witness J ames Price (PDF page l9)
Summary of Statement of Witness Shawanda Lewis (PDF page l9)
Summary of Statement of Witness Ayesha Rucker (PDF page 20)
Interview of Officer David Chapman, 10/28/13 (PDF page 28)
lnterview of Officer latreese Lee, 10/03/ 13 (PDF page 45)

Baltimore Police Department Supplement Report, Assault on Police, by Officer R.
Weese, 07/18/13 (PDF page 113)

Baltimore Police Department Supplement Report, Questionable Death, by Officer
R. Weese, 07/18/ 13 (PDF page l 15)

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. Crime Scene Photos (PDF page 149-151, 1112-l l 15, l 124-l 146)
y. lnterview of Officer Jorge Bemardez-Ruiz, 10/28/ 13 (PDF page 171)
z. Interview of Officer Matthew Cioffi, 10/28/ 13 (PDF page 264)
aa. Interview of Officer Eric Hinton, 10/24/ 13 (PDF page 278)
bb. Autopsy Photos (PDF page 463-468)

cc. Transcript of Taped Statement of Officer Taras Hnatyshyn, 07/23/ 13 (PDF page
471)

dd. Transcript of Taped Statement of Officer Cory Jennings, 07/30/ 13 (PDF page
513)

ee. Transcript of Taped Statement of Witness J ames Price, 07/18/ 13 (PDF page 53 8)
ff. Transcript of Taped Statement of Witness Corinthea Servance, 07/18/13 (PDF

page 5 72)

gg. Transcript of Taped Statement of Witness Duane Bonds, 07/23/13 (PDF page
591)

hh. Application for Search and Seizure Warrant for the Mercedes-Benz (PDF page
619)

ii. Transcript of Taped Statement of Witness Chuma Obineme (PDF page 651)

jj. Transcript of Taped Statement of Witness Shawanda Lewis (PDF page 703)

kl<. Transcript of Taped Statement of Witness Ayesha Ruclcer (PDF page 726)

ll. Baltimore City Fire Departrnent Comprehensive Report, 07/18/13 (PDF page 838)
mm. lncident History Detail-CAD (PDF page 844)

nn. Crime Scene Diagram (PDF page 859)

oo. Baltimore Police Departrnent Laboratory Section Drug Analysis Report (PDF
page 900)

pp. Autopsy of Tyrone West (PDF page 944)
qq. Photographs of Involved Officers (PDF page 1071, 1116-1123)
rr. Homicide Section’s Summary of Communications Tape (PDF page 1156)
ss. Summary of Encounter (PDF page l 15 7)
tt. Description of Involved Officers (PDF page 1167)
3. Baltimore Police Departrnent Pepper Spray Guideline, Effective 05/06/11

4. Office of the State’s Attorney for Baltimore City Memorandum, lnterview of Officer
Alex Hashagen, 12/13/ 13
5. Office of the State’s Attomey for Baltimore City Memorandum, Interview of Officer

Derrick Beasley, l lfl 8/13

6. Article, Pepper Spray ’s Ej”ects on a Suspect ’s Abilr`ty to Breathe. National Institute of
Justice.

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7. Article, Impact of Oleoresin Capsicum Spray on Respiratorj) Function in Human Subjects
in the Sitrz`ng and Prone Maximal Restraint Positz`ons, Final Report. National Criminal
Justice Reference Service

8. lACP Model Policy on the Use of Pepper Aerosol Restraint Spray, September 1994
9. Baltimore Police Departrnent Pepper Spray Guideline, 05/06/11

lO. https://www.wunderground.com/history/

ll. Communications Tape Recordings of lncident

VIII. PURPOSE OF ENGAGENI_ENT FOR SERVICES

I have been retained to review the facts of this case and to provide an expert opinion as
to: l) Whether the actions of the Defendant Baltimore Police Officers in stopping and attempting
to arrest Mr. Tyrone West were objectively reasonable and consistent with accepted standards of
police policies, practices, and training; 2) Whether the actions of the Defendant Baltimore Police
Officers in using force in attempting to effect the arrest Mr. Tyrone West Were objectively
reasonable and consistent with accepted standards of police policies, practices, and training; and
3) Whether the Baltimore Police Departrnent as a matter of custom and policy failed to

adequately train, supervise, and discipline the Defendant Baltimore Police Officers.
IX. INCIDENT SYNOPSIS
1) AccountAccording to Plaintijj“l

On July 18, 2013, at or about 7: 15 P.M., Defendants Chapman (Chapman)2 and

 

1Talcen n'om Civil Complaint.

2At the time of this incident, the names of the occupants of the car were not known to the
officers, nor were the officers’ names known to the occupants For the purposes of clarity and
brevity in this report, all names Will be used when and where applicable.

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Bernandez-Ruiz (Ruiz) initiated a traffic stop of Mr. Tyrone West (West). They never
articulated to West any legal justification for stopping the vehicle he was operating At the time
of the stop, West was driving Tawanda Jones’ vehicle, a 1999 green Mercedes Benz, in the 5200
block of Kelway Road, Baltimore City. Riding in the front passenger seat with West was Ms.
Corinthia Servance (Servance). Chapman and Ruiz were driving an unmarked Baltimore Police
Departrnent (BPD) vehicle. They activated the vehicle’s emergency lights to stop West, who
was, at that time, driving in a prudent and safe manner, obeying all traffic laws, and had not

broken any laws of the road.

Chapman and Ruiz exited their vehicle aggressively, approached West’s vehicle, and
shouted verbal abuses, including “fu**ing ni**er, get out of the fu**ing car!” They commanded
both West and Servance to exit the vehicle. As West began voluntarily exiting the vehicle, Ruiz
forced him out of the vehicle and onto the ground by dragging him by his hair. Chapman then
ran to the driver’s side of West’s vehicle, struck him with his departmentally issued baton, and
sprayed West in the face with his departmentally issued pepper spray. Chapman and Ruiz both
tased West on his neck and on the side of his abdomen while continuing to spray West in his face
with their pepper spray. Irnmediately thereafter, Chapman and Ruiz continued their assault
against West beating him with their batons and fists, and administering kicks to his body and
head. West begged the Defendants to stop the assault on his person, and yelled, “Help me, help

me, somebody help mel Please stop beating me!” West succumbed to the illegal and excessive

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police force. He lay on the ground exclaiming, “Ahhh, you got me, stop beating me, why are you

beating me, stop beating me? My face is burningl”
After approximately fifteen minutes of the unprovoked assault on West, Chapman
radioed a “Signal 13",3 because both Chapman and Ruiz had sprayed pepper spray so vigorously,

and at such a close range to West, that some had gotten on them. Soon thereafter, multiple BPD
squad cars arrived on the scene, carrying the remaining Defendants Defendant Besley [sr'c]
(Beasley), passenger, and Defendant Morgan State University Officer David Lewis (David
Lewis), driver, arrived first in a Morgan State University campus police car, jumped out of their
vehicle and immediately began striking West in the head with their batons. A BPD police
vehicle containing Defendants Danielle Lewis (Danielle Lewis), who was driving, Latresse Lee
(Lee), who was in the front passenger seat, and Matthew Cioffi (Cioffi), who was seated in the
rear passenger seat, arrived next. Danielle Lewis struck the MSU vehicle in the rear. The
officers then exited their vehicle and immediately joined the beating of West. A third BPD
marked patrol vehicle arrived lt was transporting Defendants Hinton (Hinton) and Hashagen
(Hashagen), who immediately jumped out of their vehicle and ran to join the beating of West.
The officers used their batons to strike West with so much force to his head, torso, neck, back,
arms, shoulders thighs, and legs that both subcutaneous and intramuscular bruising were visible

days after his death.

 

31n the lO-Code used by the BPD to shorten and clarify radio transmissions a Signal 13 is
used when officers are in need of immediate assistance.

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Ultimately, West became unconscious from the beatings As his seemingly lifeless body
lay on the ground, he was handcuffed behind his back, left on the concrete ground in a prone
position, and, after a few more kicks to his face, David Lewis sat on the back of West,
intentionally restricting his breathing Eventually West turned gray, stopped breathing, and had

no pulse.

All of the Defendant Officers reported in their statements to the BPD Homicide Unit or
the State’s Attomey for Baltimore City that West was sprayed with pepper spray. Fellow police
officers washed the eyes of Chapman and Ruiz with water, but no treatment was administered to
West. In fact, no call was made for a paramedic prior to his death. When Medic 13, which was
dispatched for “an injured officer,” finally arrived, West non-responsive body was taken from the

scene and transported to Good Samaritan Hospital, where he was pronounced dead.

He was then transported to the Office of the Chief` Medical Examiner at or about 9:00
a.m. July 19, 2013. The Medical Examiner’s Office on December 11, 2013 concluded that
Tyrone West’s manner of death “could not be determined” and the cause of death was “Cardiac
Arrhythmia and Cardiac Conduction System Abnormality complicated by dehydration during

police restraint.”
2) Account According to Defendant O_[i‘icers 4

On July 18, 2013 at approximately 7:15 p.m., Officers Ruiz and Chapman were working

 

4Taken from police reports and witness statements

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in plainclothes operating an unmarked vehicle. They initiated a vehicle stop of a green
Mercedes-Benz, occupied by West and Servance, at Kitmore and Kelway Road in Baltimore,
because they had observed the car backing up in the intersection at Kitmore and Northwood
Drive, turning onto Kitmore Road, and driving off well below the posted speed limit. Their
account of the car’s driving pattern was supported by Servance in her taped statement provided
on the night of the incident to Homicide detectives Ruiz approached the driver’s side, while
Chapman approached the passenger’s side. While they were pulling the vehicle over, the officers
observed West and Servance making numerous furtive movements West was observed dipping
his shoulder in an attempt to conceal something Servance was observed leaning over and
placing items near the center console of the vehicle. Their description of these actions were
supported by Servance, who said, in her taped statement, that she and West were eating chicken
and reaching toward where it was lying on the console of the car. She also said she was putting

money or her phone in her purse.

Based on these movements and the belief that West and Servance were attempting to
conceal evidence of a crime, Chapman and Ruiz asked them to get out of the vehicle. After they
got out of the vehicle, they were instructed to sit on the curb and cross their ankles Servance
refused to sit down, but West complied Ruiz observed a bulge in West’s right sock that he
believed to be suspected narcotics and attempted to recover them. West resisted the effort and

began to assault Ruiz and Chapman. Servance, also, reported that Ruiz saw something, bent

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down to retrieve it, and West reacted by pushing and striking out at Ruiz, then attempting to get
up.

After Ruiz bent over to check out the bulge and West assaulted him, Ruiz punched West
with body strikes Ruiz was then able to grab West in a bear hug and a push him against the
unmarked vehicle. During the struggle, they both fell to the ground. Ruiz was on top of West
attempting to restrain him and Chapman was holding onto his legs, but was unable to control
him. West was kicking violently. Chapman used his baton to strike West on his calf, but it had
no effect. While Chapman was on West’s back, West reached back and attempted to grab
Chapman’s service weapon. Chapman then punched West in the face. West was still fighting
and punched Chapman in the chest. West suddenly raised his hands and temporarily stopped
resisting, looking at both officers he said, “Okay, you got me.” The officers attempted to
handcuff West, but West immediately jerked his arms away nom them. Both officers again
began attempts to control West. The three of them ended up on the grassy area next to the
vehicle. As Ruiz was attempting to hold down West, Chapman sprayed West with his Oleoresin

Capsicum (OC) spray. The spray affected all of them.

West stood up and ran towards Kelway and then toward the alley on Kitmore Road. As
he was running, he was yelling, “Trayvon Martin, help.” West then assumed a boxing stance,
which caused Chapman to strike him again with his ASP baton. West fell to the ground and
Chapman kicked him once or twice in the head. West then got up, backpedaled across the street,

and hid behind a truck. When Chapman approached him, West charged toward him and poked

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him in the eye. Other officers then arrived on the scene. Ruiz and Chapman retreated from the

incident, because they were blinded and incapacitated from the pepper spray and heat.

Beasley responded to Chapman’s call for a Signal 13 and was the first backup officer on
the scene. When he arrived, he saw West on his feet throwing punches at Ruiz and Chapman.
Beasley grabbed West around the chest area, but West was sweaty and escaped his grip. Both
Chapman and Ruiz backed off when the other officers arrived. West hit Beasley in the head and
Beasley struck him in his upper body. West went to the ground and Beasley got a cuff on one
hand. West continued pulling his arms away, trying to keep from being handcuffedl Beasley got
OC spray in his eyes as a result of transfer from West. When the other officers arrived and

became engaged, he drew back because he was having trouble seeing.

Beasley saw West continuing to resist by kicking even after they got the cuffs on him.
Beasley stated that MSU Officer Lewis was the last person who was engaged with West. After
West was cuffed, Beasley saw MSU Officer Lewis put his knee on top of West’s back in an
effort to control his kicking. Beasley demonstrated to the interviewing State’s Attomey and
Homicide detective how David Lewis placed a knee on West’s back while he, West, was prone.
He demonstrated that David Lewis was on the left side of West, facing his head, with his, Lewis’,
knee/leg somewhat covering West’s left arm. He said that Lewis had the knee in West’s back for

“a minute or two” and that West never stopped resisting during this time.

As Lee arrived, she saw West struggling with Ruiz and Chapman. When West was on

the ground, she assisted in trying to handcuff his left Wrist. She couldn’t get control of it, causing

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her to strike him on the shoulder with her Hst. When this still didn’t get him to comply, she

struck him on the shoulder with her baton.

When Hashagen arrived on scene, he observed West on the sidewalk next to a truck,
where he was fighting with Ruiz and Chapman. Ruiz and Chapman appeared to have a hard time
seeing, because of their exposure to the OC. Hashagen reported that the Morgan State officer
arrived before him, but they all engaged West at the same time. They tackled him and took him
to the ground. Hashagen recalled Lee and other officers telling West to “give me your hands” so
that he could be handcuffedl West didn’t comply, so Hashagen punched West around the temple
area with a closed fist. He didn’t believe that the punch was effective, because it glanced off.
West began to buck and Hashagen delivered another punch to the same area, which was also
ineffective Hashagen tried to control West’s legs by grabbing them and bending one leg at a
right angle while applying pressure over the bent leg with the other leg. Hashagen attempted this
maneuver twice. The first time, West bucked and kicked, throwing Hashagen backwards The
second time, Hashagen applied all his weight behind the top leg. Both attempts lasted for
roughly fifteen to twenty seconds with the total time approximately thirty to forty-five seconds

lt was during the second attempt that MSU Officer Lewis placed his knee on West’s back.

After the handcuffs were secured and West was no longer a threat, Hashagen attended to
Ruiz and Chapman, who were suffering from the effects of the OC combined with the heat.

Hashagen saw that West was still alive at this point.

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Officer Taras Hnatyshyn (Hnatyshyn), sector officer-in-charge (OIC) that night, anived
after West had been handcuffed He observed that West was lying in a prone position,
Hnatyshyn told MSU Officer Lewis to roll him over, noticed that West’s leg appeared to be stiff`,
and that he did not appear to be breathing He had the handcuffs removed and he and Jennings
carried West to a grassy area. Hnatyshyn opened West’s mouth with a pen and attempted to open
his airway. He then performed CPR and continued chest compressions until medics arrived
One of the officers connected a defibrillator, but a failsafe did not allow it to provide a charge.
West was transported to Good Samaritan Hospital by ambulance, where he was pronounced

dead

None of the officers who responded were equipped with a TASER, nor did the autopsy

document any injuries which were consistent with a TASER deployment
3) Documented F acts Pertinent to Opinions
a) Baltimore City Fire Departrnent Comprehensive Report, 07/18/13

Fire Departrnent Dispatch notified at 19: 17 hours (7:17 p.rn.).
Ambulance arrived on scene at 19:23 hours
Ambulance departed scene at 19:33 hours

b) Summary of Communications Tape

Communications Tape 1-8

Initiated at approximately 1909 hrs Total chapter time 3:32
0:46 Chapman calls for a 10-16 (backup unit)

1109 Chapman calls for a Signal 13

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2:30 Chapman calls for a 2”" Signal 13
2:37 Chapman calls for a 3rd Signal 13
2:57 Barely audible voice says 13

3:23 Chapman says I need a medic

Communications Tape 9-16

initiated at 1913 hrs Total chapter time 3:06

1:22 Suspect is in custody. Give me a medic up here. (4:08 from 10-16 request)

1:40 Dispatch 10-32 at 1914 hours (Dispatcher Time)

2:34 23 (Hinton) medic requested for suspect injuries (1 : 12 from suspect in custody)
3:03 Dispatcher request status for officers Officers OK just need medic (CAD 19;16:06)

Communications Tape 17-24

Initiated at 1916 hrs. Total chapter time 4:19.

0:00 2 medics requested (CAD 19:16:36)

0:34 supervisor requested to respond

0:41 460 calls on scene (CAD 19:17:50)

2:34 09 (Kelley) medic needed ASAP (8:26 from the time of Chapman’s l*‘t call for a 10-16)
2:54 400 (Davis) gives route for Ambo (CAD 19:19:47)

3:39 09 asks about fire apparatus (CAD 19:20:27)

c) West’s Autopsy by Dr. Pamela E. Southal], Medical Examiner

The external injuries were associated with bruising of superficial soft-tissue
layers Autopsy revealed neither signs of asphyxia, nor significant injury to vital
structures or vital areas of the body. The abnormalities found in Mr. West’s heart
and signs of dehydration are certainly causes for sudden cardiac death. Another
factor that may have contributed to his death was the extreme environmental
temperature. Temperature is on the day of his death in parentheses July 18, 2013,
were reportedly in the high 905 with a heat index in the low 100 (degrees
Fahrenheit). The manner of death could not be determined

Other than a superficial abrasion to the glabella region of the forehead and an internal

injury caused by a catheter insertion to his neck, no injuries to West’s head and neck were noted

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X. OPINIONS AND BASES OF OPINIONS
1) Opinion Regarding Whether the Actions of the Defendant Baln'm ore Police
Oj_'ficers in Stopping and Attemptr`ng to Arrest Mr. Tyrone West Were
Objectively Reasonable and Consistent with Accepted Standards ofPolice

Practices, Policies, and Training.

It is my opinion that the actions of the Defendant Baltimore Police Officers in stopping
and attempting to arrest Mr. Tyrone West were objectively reasonable and consistent with

accepted standards of police practices, policies and training
BASES

The Fourth Amendment "reasonableness" inquiry is whether the
officers' actions are "objectively reasonable" in light of the facts
and circumstances confronting them, without regard to their
underlying intent or motivation. The "reasonableness" of a
particular use of force must be judged from the perspective of a
reasonable officer on the scene, and its calculus must embody an
allowance for the fact that police officers are often forced to make
split-second decisions about the amount of force necessary in a
particular situation.5

Consistent with the instructions articulated in Graham, my review of this case is based
upon the facts and circumstances known to the officers at the time they were confronting Mr.
West. hr accordance with the officers’ and Servance’s accounts, those facts and circumstances
not in dispute were: 1) West was stopped after Chapman and Ruiz observed him backing his car

into the intersection of Kitmore and Northwood Drive and driving at a slow speed down

 

5C)`rmhcmr v. Connor (490 U.S. 386,1989) Pp. 396-397.

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Kitrnore; 2) After the police vehicle’s emergency lights were activated, Chapman and Ruiz
observed West and Servance moving suspiciously inside the car; 3) Once the car was stopped,
West and Servance were asked to get out and sit on the curb; 4) Servance refused to sit on the
curb, but West did; 5) Ruiz saw a bulge in one of West’s socks and moved to retrieve the item;

and 6) West pushed Ruiz away, attempted to strike him, or struck him, and attempted to get up.

While Plaintiffs’ Amended Civil Complaint contains various allegations of police
misconduct, there is no present record to support many of those allegations The opinions
expressed in this report are based upon contemporaneous witness reports of both civilians and
police officers Particular emphasis was given to Ms. Servance’s account, because she was the
only witness to the initial stop other than Officers Ruiz and Chapman. Plaintiffs allege that the
officers used racial slurs and obscenities directed toward West and Servance and that West was
pulled out of the ear by his hair. Servance’s account of the stop mirrors the statements given by
Chapman and Ruiz and does not contain any mention of either racial slurs, obscenities, or of

West being jerked out of the car by his hair.

Hypothetically, even if the allegations in the Amended Civil Complaint concerning the
racial slurs and obscenities were accurate, the subjective motivations or feelings of the officers
cannot affect opinions expressed by a police practices expert as to the objective reasonableness
inquiry into the officer’s actions Regarding the potential underlying intent or motivation of the

officers Graham specifically instructs as follows:

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As in other Fourth Amendment contexts however, the "reasonableness" inquiry in
an excessive force case is an objective one: the question is whether the officers'
actions are "obj ectively reasonable" in light of the facts and circumstances
confronting them, without regard to their underlying intent or motivation An
officer‘s evil intentions will not make a Fourth Amendment violation out of an
objectively reasonable use of force; nor will an officer's good intentions make an
objectively unreasonable use of force constitutionall (Citations Omitted)

Consistent with Graham, therefore, the analysis of the officers’ actions in this incident does not
consider the alleged racist and obscene statements and, instead, focuses entirely on whether those
actions were objectively reasonable and consistent with accepted standards of police policies
practices and training F or the record, any such statements by any police officer are vile,

unprofessional, and should be dealt with harshly in administrative procedures

Backing into an intersection on well traveled city streets can certainly be interpreted by
any objectively reasonable and well trained officer as unsafe backing This by itself`, could result
in a trach stop. In this case the officers also observed the car driving very slowly down Kitmore
Road after it backed into the intersection This act would also lead an objectively reasonable and
well trained ocher to stop the car and inquire if there was a problem, both for the safety of the
occupants and traveling public. Given these facts the stopping of West and Servance was
objectively reasonable and consistent with accepted standards of police policies practices and
training

Officers are trained that car stops are a very dangerous police activity. They are
dangerous in part, because the identity and criminal history of the driver are unknown, the cars

may contain weapons and will almost always contain weapons of opportunity. Weapons of

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opportunity are objects which have a function not nomially associated with being used as a
weapon; i.e., tools pens pencils bottles hot drinks etc. These items are commonly found in
automobiles Additionally, officers are trained to watch the actions of the occupants for
movements that may signal an attempt to hide contraband or weapons The officers in this case
observed just such movements after they activated their vehicle’s emergency lights Officers are
trained that if they see these types of movements or other actions which lead them to reasonably
believe that the occupants of the vehicle are attempting to secrete contraband or weapons they
are to ask the occupants to step out of the vehicle for their safety and the safety of the officers
The officers’ requests that West and Servance exit the vehicle were, therefore, objectively

reasonable and consistent with accepted standards of police policies practices and training

Once West was out of the car and sitting on the curb, Ruiz saw the bulge in his sock.
This would lead any objectively reasonable and well trained officer to believe that the bulge was
either contraband or a weapon. Considering these circumstances officers are trained to retrieve
the item for their safety and/or in furtherance of an investigation into the possibility that the item
is contraband According to the accounts of the officers and Ms. Servance, West pushed Ruiz,
attempted to strike him, or struck him, and attempted to stand up. The push, attempt to strike, or
strike would reasonably be considered an unwanted, offensive touching and, therefore, a second
degree assault. Based on these facts the attempt by Chapman and Ruiz to arrest West was
objectively reasonable and consistent with accepted standards of police policies practices and

training

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2) Opinion Regarding Whether the Actions of the Defendant Baltimore Police O_)j‘icers in
Usr'ng F arce in Attempting to Ejfect the Arrest Mr. Tyrone West Were Objectively
Reasonable and Consistent with Accepted Standards of Police Practices, Policies, and

Training.

lt is my opinion that the actions of the Defendant Baltimore Police Officers in using force
in attempting to effect the arrest Mr. Tyrone West were objectively reasonable and consistent

with accepted standards of police practices policies and training
BASES

The ‘reasonableness’ of a particular use of force must be judged
from the perspective of a reasonable officer on the scene, rather
than with the 20/20 vision of hindsight “Not every push or shove,
even if it may later seem unnecessary in the peace of a judge's
chambers,” violates the Fourth Amendment The calculus of
reasonableness must embody allowance for the fact that police
officers are often forced to make split-second judgments - in
circumstances that are tense, uncertain, and rapidly evolving -
about the amount of force that is necessary in a particular situation.
(Citations Omitted)6

The circumstances of this case embody the holdings in Graham concerning “split-second
judgments - in circumstances that are tense, uncertain, and rapidly evolving - about the amount of
force that is necessary in a particular situation.” From the time the car was stopped until West
was taken into custody was approximately four minutes An ambulance was called for West

approximately one minute and twelve seconds after he was finally brought under control. These

 

6Ibid.

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times are established by the Communications Tape Recordings which were recorded during the
time this incident was occurring These times refute the hyperbole contained in the Amended
Civil Complaint regarding the amount of time the officers were “beating” West and that no
medical assistance was sought for him. The incident History Detail Report (CAD) documents
the ambulance on scene at 19:22:37, or approximately eleven minutes after Chapman’s first call
for a backup unit. lt should be noted that CAD entries are always made after the event actually

OCC`L].I°S.

During the four minutes it took to gain control of West, West assaulted officers by hitting
them with his feet and hands reached for Chapman’s weapon, feigned surrender, ran away, and
violently resisted while having a steel handcuff attached to his hand According to
https://www.wundergLund.com/history/, the temperature at the time this was occurring was
ninety degrees and both of the officers and West were suffering from the effects of pepper spray.
By the time other officers arrived to assist, Chapman and Ruiz were nearly blinded by the pepper
spray and nearing exhaustion The officers were wearing their bullet resistant vests which
greatly increases body temperature during extreme physical exertion, particularly on hot days
Officers are trained that if a subject is not brought under control within the first thirty seconds
their ability to continue to attempt to control is greatly decreased because of oxygen deprivation
"lhe longer a struggle lasts therefore, the more force must be used to gain control. When officers
become so exhausted they can no longer defend themselves their force options may include

lethal force.

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Officers are trained to respond to the resistance or threatened resistance of an individual
by utilizing various levels of force. This training is generally called force continuum, ladder of
force, wheel of force, badge of force, etc. The BPD uses a force continuum, which is consistent
with nationally accepted standards to train their officers This training model teaches BPD
officers what force options they may use to respond to various levels of resistance from subjects
According to the model, the level of resistance ranges from compliant, to passive, to active, to
assaultive with the potential of physical injury, to assaultive with the potential of serious physical
injury.

Passive resistance is an act which is contrary to the commands or efforts by an officer to
control the person’s actions lt is characterized by a person sitting down, lying down, standing
still, etc. ln this case Servance’s refusal to sit on the curb would be considered passive

resistancel The officers used no force against her to compel her to comply.

Active resistance is any physical act which is contrary to an officer’s commands or efforts
to control or arrest an individual. Examples of active resistance are pulling arms or hands away,
holding arms under one’s body, twisting the body, tensing the arms or hands moving hands in a
manner contrary to the commands of the officer, etc. Assaultive physical resistance is any act or
threatened act that would lead an objectively reasonable officer to believe that the person

presents a physical threat to the officer.

ln this incident both active and assaultive resistance are exemplified by West’s pushing

Ruiz, attempting to strike him, striking various officers poking Chapman in the eye, running

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from them, refusing to present his hands to be handcuffed and putting his hands underneath his
body when the officers had one handcuff attached This sequence of events would lead any
objectively reasonable and well trained officer to believe that West’s actions were active and

assaultive physical resistance.

Officers are trained that they do not have to be battered before using force to prevent an
attack. lf a battery actually had to occur before the officers defended themselves or others
officers could be disabled to the point that they could not mount a defense. Further, the crime of
second degree assault does not require that a person be struck. lt only requires that a person be
put in fear of being assaulted that the perpetrator of the assault intentionally frightens the victim
with the threat of immediate offensive physical contact, that the perpetrator has the ability to
bring about the immediate physical contact, and that the perpetrator’s actions are not legally
justified In this case the pushing and striking of Ruiz constituted a battery, the threatened strike
a second degree assault, and the attempt to run resisting arrest. All of these occurred before any

force was used against West.

Officers may use whatever force that is objectively reasonable to overcome the level of
resistance offered They are not required to use a lesser force before using the amount of force
reasonably necessary to overcome the threat they are confronting ln this case the witness
accounts are that West did strike various officers with his hands and feet. Officers are trained

that they may use strikes with personal weapons,"' batons pepper spray, or TASERS to overcome

 

"Personal weapons are defined as a head, elbows forearms fists knees and feet.

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an actively resisting subject or a subject who is physically assaultive. Contrary to the allegations
in the Amended Civil Complaint, no officers were equipped with TASERS in this incident and

the autopsy found no evidence that a TASER had been used against West.

In response to West’s resistance and assaults Ruiz grabbed West in a bear hug and
pushed him against the unmarked vehicle. Ruiz punched West with body strikes During the
struggle, they both fell to the ground Ruiz was on top of West, attempting to restrain him.
Chapman was holding onto West’s legs but he was kicking so violently he was unable to control
him. Chapman struck West on his calf with his baton, but it had no effect. While Chapman was
on West’s back, West reached back and attempted to grab Chapman’s service weapon. Chapman

then punched West in the face. West was still fighting and punched Chapman in the chest.

West, then, suddenly raised his hands and temporarily stopped resisting He told the
officers “okay, you got me.” When the officers attempted to handcuff him, West immediately
jerked his arm away from them. Both officers again attempted to control West and they ended up
on the grassy area next to the unmarked vehicle. While Ruiz was attempting to hold West down,

Chapman used his OC spray, The spray affected all of them.

West stood up and ran toward Kelway. He then ran toward the alley on Kitmore Road,
yelling, “Trayvon Martin, help.” West then assumed a boxing stance, which caused Chapman to
strike him with his ASP baton. West fell to the ground and Chapman kicked him once or twice
in the head Given the lethal threats which West had already presented, the exhaustion of the

officers and the effects of the pepper spray on the officers Chapman’s kicks to the head at this

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point were an objectively reasonable force option in an attempt to control West’s violent
resistance. West then got up, backed across the street, and hid behind the truck. When Chapman
approached him, West charged toward him and poked him in the eye. Pokes to the eye can cause
serious injuries Other officers then arrived on the scene. Ruiz and Chapman retreated from the
incident, because they were blinded and incapacitated from the pepper spray and exhausted from

the struggle.

The officers used commendable restraint during this sequence of events Any objectively
reasonable and well trained officer would consider West’s attempt to take Chapman’s firearm an
imminent threat of serious injury or death. That attempt, the poke to Chapman’s eye, the effects
of the pepper spray, and the officers’ exhausted physical condition made this incident a
potentially lethal force situation Assaultive physical resistance with the potential for serious
injury is any act or threatened act that would lead an objectively reasonable officer to believe that
the person presents an imminent threat of serious injury or death to the officer or others lt is
exemplified by an individual attacking and overcoming an officer to the point where the officer
reasonably believes that he/she can no longer defend herself/himself, attempting to obtain the
officer’s weapon, threatening or using a weapon against the officer, or acting in a manner which
would lead an objectively reasonable officer to conclude the person is armed and presenting an

imminent threat.

On the subject of nationally accepted standards of police officer training and policies

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regarding the definition of an imminent threat, Federal Bureau of Investigation Supervisory
Special Agent John C. Hall (now retired), a nationally recognized authority and published author
in police use of force, wrote an article in April 1996 in The FBI Law Enforcement Bulletin,s also

a nationally recognized source in police use of force policies that outlined the Department of
Justice’s lethal force policy. Following are excerpts from the policy that are relevant in this case:

lrnminent Danger: ‘lrnminent’ does not mean ‘immediate’ or ‘instantaneous,’ but
that an action is pending Thus, a subject may pose an imminent danger even if he
is not at that very moment pointing a weapon at the agent. For example,
imminent danger may exist if agents have probable cause to believe any of the

following:

a. The subject possesses a weapon, or is attempting to gain
access to a weapon, under circumstances indicating an
intention to use it against the agents or others; or,

b. The subject is armed and running to gain the tactical

advantage of cover.

The imminent danger police training standard as Supervisory Special Agent Hall

explained speciEcally means that officers are trained that they do not have to see a weapon or
have a weapon employed against them before they are allowed to use lethal force to protect
themselves or others They are, of course, required to articulate why they reasonably believe that
a person presents a lethal threat, including the potential possession of and attempt to obtain a

weapon

The polices and training of the Federal Bureau of lnvestigation are a source of nationally

 

8John C. Hall, “FBI Training on the New Federal Deadly Force Policy,” FBI Law
Enforcement Bulletin, Volume 38, Issue No. 4 (April 1996) Pages: 25-32.

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accepted police policies practices and training because of that agency’s responsibility for

investigating allegations of criminal constitutional violations by police officers particularly

allegations of police officers using excessive force.

lnstead of using lethal force to overcome West’s assaults and resistance, the officers
elected to use pepper spray and strikes to the body with a baton, fists and kicks. Given the
violent and potentially lethal nature of West’s resistance, they could have used strikes to his head
and neck with batons as was alleged in the Amended Civil Complaint. The officers reported no
such strikes with a baton Chapman, however, did report that he had kicked West in the head
The autopsy’s fmdings determined to a certainty that West sustained only one injury to his head
That injury was a superficial linear abrasion on the glabella region of his forehead There were

no injuries noted to his neck, other than the injury attributed to the insertion of a catheter.

As a person who has trained in defensive skills for over forty years and as a FBl certified
defensive skills instructor, l have received extensive training regarding the physical effects
associated with strikes to the head or face with feet, fists knees or batons. An ASP baton is
constructed of either steel or hardened aluminum. Any forceful contact with the skin will cause,
at a minirnum, severe bruising or lacerations which will generally present in the linear outline of
an ASP. Such strikes were noted on other parts of West’s body. Forceful strikes to the face and
head with feet, fists and knees will also leave bruises and, depending on where they hit,
lacerations This is because the skin of the head is directly over unyielding bone, unlike other

areas of the body which are protected by fat or muscle. The face and head area have no such

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protection and the hard bone surface does not allow the skin the flexibility to yield to the force of

the strike; thus the skin on the head and face areas are much more susceptible to visible,

bleeding injuries
Plaintiffs also assert in the Amended Civil Complaint that Chapman and Ruiz sprayed

pepper spray so vigorously and at such a close range to West that some had gotten on them.
Pepper spray is at the low end of the force continuum and can be used to control a passively
resisting person. West’s violent resistance and assaults on the various officers could certame
have resulted in his having been sprayed more than once. The involved officers however,
reported that West was only sprayed one time and that was done by Chapman early in the

struggle.

Pepper spray transfer in close quarters altercations is a common occurrence. Before it
evaporates it is present on the skin, clothing, and hair of the sprayed subj ect. Generally,
evaporation begins in ten to fifteen minutes and takes thirty to forty-five minutes to complete. lts
effects are exacerbated by vigorous physical activity, particularly when the temperature is in the
90's. Those elements were present in this case. 'Ihe fact that Ruiz and Chapman were seriously
affected by the spray directed at West does not support any allegation that the pepper spray was

used excessively or more than reported

Additionally, there is a mistaken belief that pepper spray increases the likelihood that a
person who is sprayed and put in a prone position is more susceptible to breathing difficulties

and, therefore, to asphyxiation. Scientific studies have shown that pepper spray has no

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deleterious effects on individuals who are put in a prone position Two articles containing

findings relevant to this issue follow:

Study findings support the contention that OC spray inhalation, even when
combined with positional restraint, poses no significant risk to subjects in terms of
respiratory and pulmonary function Although capsaicin spray has been studied
extensively, this study assessed pulmonary and respiratory function after exposure
to a commercially available OC spray used by law enforcement agencies
nationwide. OC exposure produced no evidence of pulmonary dysfunction,
hypoxemia, or hypoventilation in either the sitting or restraint positions These
findings also applied to the groups of overweight subjects and to those with
potential respiratory abnormalities On the issue of in-custody deaths this study
indicates that OC inhalation and exposure do not cause significant respiratory
injury and should not lead to an increased risk of respiratory compromise, arrest,
or death_thus lending credence to the large retrospective field studies that have
found little evidence that OC causes signiEcant respiratory injury.’

We conducted a randomized, cross-over controlled study investigating the effects
of OC inhalation and prone maximal restraint on respiratory function in human
subjects In our subjects OC exposure resulted in no evidence of pulmonary
dysfunction, hypoxemia, or hypoventilation when compared to placebo in both the
sitting and restraint positions Our Endings support the contention that OC spray
use by law enforcement personnel in the field does not result in respiratory
compromise or increased risk for respiratory arrest and death in exposed

subj ects.10

lt should be noted that the positional and maximal restraint referred to in these studies are terms

which refer to a person who is handcuffed with hands behind the back, ankles manacled, and the

 

9U.S. Departrnent of Justice. National lnstitute of Justice. Pepper Spray ’s Ejj”ects on a
Suspect’s Abz'lity to Breathe. By Dr. Theodore C. Chan, Dr. Gaiy M. Vilke, Dr. lack Clausen, Dr.
Richard Clark, Paul Schmidt, Thomas Snowden, and Dr. Tom Neuman NC.1188069. (Washington
D.C.: United States Govemment Printing Office, 2001), 3.

mChan, T.C., G.M. Vilke, J. Clausen, R.F. Clark, P. Schmidt, P. Snowden, and T.
Neuman (2000). Irnpact of Oleoresin Capsicum Spray on Respr'ratory Functz'on in Human
Subjects in the Sittt`ng and Prone Maxr'mal Restraint Positions, Fr'nal Report National Criminal
Justice Reference Service, 55.

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hands’ and ankles’ restraints joined together. This is what is commonly referred to as the “hog-
tie” position The BPD does not use a maximal restraint position, nor was West so restrained lt
should also be noted that the autopsy of West established to a scientific certainty that his death

was not due to asphyxiation.

Beasley and MSU Officer David lewis were the first officers to arrive in response to
Chapman’s call for a Signal 13. Beasley saw West fighting with Chapman and Ruiz, who
backed off when the other officers arrived He grabbed West around the chest area, but, because
West was sweaty, West escaped his grip. West hit Beasley in the head and Beasley struck West
in his upper body. West went to the ground and Beasley got a cuff on one hand but West
continued to pull the hand away and would not surrender the other hand Lee had joined the
effort by this time. She struck West on the shoulder with her fist and then a baton, when he
wouldn’t surrender his hand to be cuffed. Hashagen had also arrived by then. He, too, saw that
West wouldn’t surrender his hand and was violently resisting He punched West around the
temple area with a closed fist. He didn’t believe that the punch was effective, because it glanced
off. West began to buck and Hashagen delivered another punch to the same area. This punch
was also, ineffective. Hashagen then tried to control West’s legs by grabbing them and bending
one leg at a right angle, while applying pressure over the bent leg with the other leg He
attempted this maneuver twice. The first time, West backed and kicked throwing Hashagen

backwards The second time, Hashagen applied all his weight behind the top leg Both attempts

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lasted for roughly fifteen to twenty seconds, with the total time approximately thirty to forty-five

seconds. lt was during the second attempt that David Lewis placed his knee on West’s back.

David Lewis, who had arrived with Beasley, put his knee on top of West’s back and
shoulder in an effort to control him. ln his interview with an Assistant State’s Attomey and a
Homicide Unit detective, Beasley stated that David Lewis was the last person Who was engaged
with West. Beasley demonstrated how Lewis placed a knee on West’s back while he, West, was
lying prone. Beasley said he could not remember which way Lewis was facing, but he
demonstrated that Lewis was on the left side of the body and was facing West’s head, with his
knee/leg also somewhat covering the individual’s left arm. He said that Lewis had the knee in

West’s back for “a minute or two” and that West never stopped resisting

Placing a knee in the back of a subject who is actively resisting on the ground and being
handcuffed is not considered a use of force. It is a procedure that is taught in the Baltimore
Police Departrnent and every other agency in the country of which I’m aware. The FBI teaches
its agents to put a knee on the upper back in order to handcuff an actively resisting person.11 As
previously stated, the FBI is a model of nationally accepted standards of police policies,
practices, and training because it is the federal agency charged with the responsibility of
investigating criminal constitutional violations of police use of excessive force. Police

departments throughout the country, therefore, look to it as a source of nationally accepted

 

11 Federal Bureau of Investigation, United States Departrnent of Justice. Defensz've

Tactics Manual. (Washington D.C.: 1970) 87-89.

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standards on use of force. Once again, it is important to note that the autopsy determined to a
scientific certainty that West did not die of asphyxiation as could have been the case if Lewis’

knee had severely restricted his breathing

Regarding West being put in a prone position and taken to the ground during the incident,
taking a subject to the ground is called a take-down and is classified as a nonlethal, empty-hand
control technique A take-down is placed in the force continuum near the bottom of a range of
force options. Take-downs can be used when an individual is passively resisting an officer’s
attempt to establish control or arrest the offender. Officers are permitted to take someone to the
ground when they have a reasonable belief that the person is potentially a threat to their safety.

Officers are trained that taking subjects to the ground is safer for the officer and the

subject As long as subjects are standing, they can strike with arms or legs, move about, reach
for a weapon, etc. Ifany of those things occur, the officer may have to use more force to control
them; potentially including deadly force. When subjects are on the ground, they are much more
restricted in their movements and, therefore, much less likely to do something which will cause
the officer to have to escalate the amount of force used; thus, it is generally safer for both the

officer and the subject to put her/him on the ground.

There are, of course, circumstances which permit the officer to use force techniques when
the person is on the ground. ln this incident West was described as keeping a cuffed hand
underneath his body and continuing to attempt to kick the officers after he was on the ground and

even after he was cuffed. This is still active/assaultive resistance and officers are still permitted

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to use pepper spray, joint manipulation, and strikes with personal weapons and batons to
overcome the resistance. West’s having a metal cuff on one hand and actively resisting is
considered assaultive physical resistance with the potential for serious injury. A steel handcuff
on the wrist of a person Who is violently resisting can inflict serious, even deadly, injuries.
Further, he had not been frisked and had been violently trying to escape police apprehension All
of these elements would lead any objectively reasonable and well trained officer to believe that
he presented an imminent threat of serious injury or death to the officers or others. As stated
previously, when an officer reasonably believes that a person presents an imminent threat of
serious bodily harm or death, the officer may use lethal force to overcome the threat. Once again,
the officers attempting to control West continued to use strikes and leverage techniques rather

than elevate their use of force.

Regarding injuries sustained as a result of an officer’s use of force, anytime an officer
goes hands-on with someone there is an increased risk of injury to both the officer and the
subject Use of force means exactly what it implies: physical coercion used to force compliance
There are no magic use of force procedures which are guaranteed not to result in injury.
Unintended injuries can, and do, happen. Further, by their very nature, strikes and take-downs
can possibly break bones and/or cause internal injuries. There is simply no way to train officers
how to restrict the power of a punch or, in some manner, cushion the force that is used in a way
that will prevent any injuries to a subject and, at the same tirne, ensure that it will be of sufficient

force to convince the subject to comply with commands injuries in a use of force are directly

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related to the amount of resistance offered by the subj ect: the more the subject resists, the more

force will have to be used to effect control, and the more likely serious injuries will occur.

The nature and severity of injuries resulting from an officer’s use of force are not
determinative as to whether the use of force Was objectively reasonable. West is reported to have
sustained numerous minor abrasions and contusions to various parts of his body, including only
one superficial injury to his head. These injuries are consistent with the accounts of the officers
and, given West’s violent and assaultive resistance, demonstrate the restraint exercised by those
officers under circumstances when more force could have been used to control him. The use of
force by the Defendant Officers was, therefore, objectively reasonable and consistent with

accepted standards of police practices, policies, and training

3) Opinion Regardr'ng Whether the Baltim ore Police Departrnent as a Matter of Custom
and Policy Failed to Adequately Train, Supervise, and Discipline the Defendant

Baltimore Police ij'icers.

lt is my opinion that the Baltimore Police Departrnent properly trained, supervised, and

determined that discipline was not warranted for the Defendant Officers.
BASES

ln the Amended Civil Complaint Plaintiffs allege the following as the bases for their
claim that the Baltimore Police Departrnent failed to adequately train, supervise, and discipline

the Defendant Officers:

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Nationwide, various other Police Departrnents, including the Philadelphia Police
Departrnent, adopted comprehensive policies regarding the use of Pepper Spray
and appropriate medical treatment to be rendered to the person sprayed. A 1995
comprehensive policy on pepper spray use included strict rules regarding post-
spray medical treatment and special reporting requirements The Baltimore City
Police Departrnent PEPPER SPRAY GUlDELlNE merely suggests “treatment”
for a person in custody Who was sprayed with Pepper Spray. lt does not provide a
mandatory rule or directive that medical attention must be provided to persons
sprayed with pepper spray, Further, the guidelines provide absolutely no rule,
directive or requirement against placing a person sprayed in a prone position or
placing weight on the person’s back as it is known that this will restrict his or her
breathing As a direct result of Defendants Batts’ and Hatcher’s failure to train
and supervise the named Defendant Officers; and /or failure to implement
mandatory policies that prohibit physically dragging unarmed citizens out of their
vehicles during traffic stops when unnecessary; and/or failing to implement
policies that mandated Officers to render medical aid when necessary to persons
in their custody, such as in the present case, Tyrone West was killed.

Plaintiffs put forth no substantive facts on which an opinion can be rendered regarding
their claim that Baltimore Police Officers were inadequately trained, supervised, and disciplined.
The Civil Complaint contains some very vague generalizations suggesting that the actions of the
Defendants in this incident and some of the Defendants’ actions in other cases serve to establish
that the BPD, as a matter of policy and custom, inadequately trained, supervised, and disciplined
its officers. lt does not, however, include any specific information regarding the policies and
practices of the BPD and/or failure to adhere to or enforce such policies and practices, which
support the allegations contained therein. To be clear, and as previously stated, it is my opinion
that the Defendants’ actions in this incident were objectively reasonable and consistent with
nationally accepted standards of police policies, practices, and training; thus, those actions cannot
serve as a basis for a claim that the BPD inadequately trained, supervised, and disciplined the

officers. Even if one or more of their actions had deviated from accepted standards of conduct,

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such deviation, by itself, would not be sufficient to permit offering an opinion on the adequacy of

the police department’s training supervising, and disciplining its officers.

Further, my review of the Arrest Procedures and Use of Force policies, including pepper
spray guidelines, of the BPD determine that they are consistent with nationally accepted
standards and those of the Maryland Police Training Commission (MPTC). The MPTC is the
governmental entity responsible for determining and approving the content of the subjects that
must be taught to an agency’s members in order to certify the agency to perform law enforcement
functions in the state of Maryland. MPTC entrance level training objective Section 01 .40
includes reasonable force and when it can be used as subjects which must be taught. Section 10,
Protective Strategies and Tactics, describes various levels of force, when force can be applied,
deployment of chemical agents, elements of weaponless defense, and use of batons as required
subj ects. The BPD is a certified agency and, therefore, its policies in the listed areas have been
reviewed and approved by the MPTC, which determines that those policies are adherent to state

mandated standards

Regarding the specific issue of pepper spray and appropriate national standards, the
Philadelphia police department does not set nationally accepted standards, although it is assumed
that its policies are in line with such standards One organization, The lnternational Association
of Chiefs of Police (lACP), does publish training and policy standards that are adopted by
thousands of police agencies/departments throughout the country. The lACP’s Model Policy on

the Use of Pepper Aerosol Restraint Spray, September 1994, holds in relevant part the following:

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- The effects of OC vary among individuals Therefore, all suspects shall be
handcuffed as soon as possible after being sprayed. Officers should also be
prepared to employ other means to control the suspect_to include, if
necessary, other force options consistent with agency policy-if he does
not respond sufficiently to the spray and cannot otherwise be subdued.

' lmrnediately after spraying a suspect, officers shall be alert to any
indications that the individual needs medical care. This includes, but is not
necessarily limited to, breathing difficulties, gagging, profuse sweating
and loss of consciousness Upon observing these or other medical
problems or if the suspect requests medical assistance, the officer shall
immediately summon emergency medical aid.

- Suspects that have been sprayed shall be monitored continuously for
indications of medical problems and shall not be left alone while in police
custody.

~ Officers should provide assurance to suspects who have been sprayed that

the effects are temporary and encourage them to relaX.

' Air will normally begin reducing the effects of OC spray within 15
minutes of exposure. However, once the suspect has been restrained,
officers shall assist him by rinsing and drying the exposed area.

The BPD’s policy on the use of pepper spray that was in effect at the time this incident

occurred guides Baltimore police officers in their use of pepper spray as follows:

BACKGROUND

There arc few enforcement situations so clearly defined that an Officer can react
with absolute certainty as to the necessary level of force required. Thus, the goal
of the Baltimore Police Departrnent in providing its members with pepper spray is
to offer a less injurious force option to Officers for those times where police
action is unavoidable, but where the suspect’s level of resistance is not sufficiently
high enough to justify the use of a weapon such as the Erearm or espantoon.12

DISCHARGING PEPPER SPRAY
In general, there are three types of encounters that may require the use of pepper
spray:
l. When an Officer intends to take lawful police action (such as making an
arrest or serving an Emergency Petition), the subject refuses to comply

 

12Espantoon is the name used in the BPD for a wooden baton.

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with the Officer’s verbal commands and that failure to comply with the
Officer’s commands jeopardizes the safety of the Officer or others

2. When an Officer has reasonable suspicion to conduct an investigative
detention (“Terry Stop”), the suspect refuses to comply with the Officer’s
verbal commands and that failure to comply with the Officer’s commands
jeopardizes the safety of the Officer or others

3. In self-defense, or in defense of another person.

Officers are cautioned to remember that the use of pepper spray should not
provide a false sense of security, and that they must be prepared to quickly change
tactics if the pepper spray appears ineffective. lf` pepper spray fails to gain
compliance within 3-4 bursts additional applications may also be ineffective and
Officers should consider an alternative to the continued use of their spray.

Whenever an Officer feels that a sprayed suspect can be safely approached and
controlled, his/her primary focus should be on handcuffing the suspect, then
ensuring that appropriate treatment measures begin (Emphasis Added). At no
time may a person who has been sprayed with pepper spray, then brought under
control and handcuffed, be left lying in a face-down/prone position, at any
location or in any type of prisoner transport vehicle.

TREATMENT

Once a person who has been sprayed with pepper spray is under control and in
custody, or when an Officer becomes aware that a bystander has been affected,
treatment measures must begin as soon as tacticaliy feasible (Emphasis Added).
Because the Departrnent’s pepper spray is biodegradable and does not contain any
toxic chemicals no special decontamination procedures are necessary, Treatment
measures may be as minimal as physically removing the person from the
immediate area where pepper spray Was deployed, advising the person not to rub
his/her eyes or providing the person With the opportunity to rinsc his/her eyes and
face with water.

Whenever it is determined that a suspect’s eyes and face must be rinsed, Officers
must give careful consideration to the potential for renewed resistance before
removing the suspect’s restraints ln cases where only minimal treatment
measures are required, Officers or ambulance personnel can, with the appropriate
care and caution, provide a suitable application of cool, clear water for the
suspect

NOTE: For the purposes of this Guideline, Officers may consider a person
who has been sprayed with pepper spray to be “recovered” when the
person is able to keep his/her eyes open and normal breathing has

resumed. lf a person or suspect requests medical attention, or if significant

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relief has not been achieved after forty-five minutes an ambulance must
be requested.

Suspects who have been sprayed with pepper spray should not be left alone for
extended periods of time while in police custody and should be monitored for any
difficulty breathing loss of consciousness severe distress etc. lfany of these
conditions are observed, an ambulance must be requested immediately

lt is clear from reading the lACP’s Model Policy on the use of pepper spray and the
BPD’s guidelines for its use that the BPD guidelines are in conformance with nationally accepted
standards lt is also clear from reading these documents that the allegations contained in the
Amended Civil Complaint concerning the inadequacy of the guidelines are without merit.
Consistent with the guidelines contemporaneous documentation of the incident determines that
an ambulance was summoned for West approximately one minute and twelve seconds after it
was broadcast that he was in custody. During this time, officers were assessing potential injuries
to themselves and to West. As to Plaintiffs’ claim that West was jerked out of the car by his hair,
there is no record that act occurred and the only independent witness Servance provided an
account that does not support that claim. Even if, hypothetically, it did occur, that single event
cannot determine that the customs and policies of the Baltimore Police Departrnent in training

disciplining and supervising the Defendant officers were inadequate
XI. RIGHT 'I`O AMEND RESERVED

l reserve the right to amend my opinions as expressed in this report when or if further

facts materials reports and/or any other evidence is submitted/presented for my review.

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